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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                             AUGUSTA DIVISION



UNITED STATES OF AMERICA

v.                                                            CR 1:16-045

DARREN DEVALE TOWNSEND, JR.


                ORDER ON MOTION FOR LEAVE OF ABSENCE



      Keith B. Johnson having made application to the Court for a leave of absence,

and it being evident from the application that the provisions of Local Rule 83.9 have

been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT Keith B. Johnson be granted leave of

absence for the following periods:    November 10, 2016; December 8, 2016;

January 12, 2017; February 1, 2017; March 9, 2017; May 11, 2017.

      This /raav of October, 2016.




                                       HONORztBLE J. RftNTJALHALL
                                                                            ^
                                       United States District Judge
                                       Southern District of Georgia
